                                                                                                    RECEI V ED
                                      IN THE UNITED STATES DISTRICT COURT
                                                                                                       140\1 2 ~jl 2023
                                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                                       ROW            DIVISION                        U.S. District Court
       I                       `               114-n       ~~   Cw
                                                                                                     Middle District of TN

             (Name                                                     (List the names of all the plaintiffs filing
                  SfA                                                   this lawsuit. Do not use "et al." Attach
             (Prison Id. No.)                                           additional sheets if necessary.)



                 Name)
                                                                       Civil Action No.
             (Prison Id. No.)                                           (To be assigned by the Clerk's Office.
                                                                        Do not write in this space.)
                           Plaintiffs)

 V.                                                                   JURY TRIAL REQUESTED '         YES ,NO

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                           /
       111   ,                                                        (List the names of all defendants
             (Name)                                                   against whom you are filing this
                                                                      lawsuit. Do you use "et al." Attach
             (Name)                                                   additional sheets if necessary.)

                       Defendant(s)



                                   COMPLAINT FOR VIOLATION OF CIVIL RIGHTS FILED
                                          PURSUANT TO 42 U.S.C. § 1983

           PARTIES TO THIS LAWSUIT

           A.      Plaintiff(s) bringing this lawsuit:
                                                                  c -
                  1.       Name of the first plaintiff:         .' ~~Dn
                                                                     ~  11~~ (77'
                           Prison I.D. No. of the first plaintiff: tt
                           Address of the first plaintiff: f-~(~%'%~ j/~A~



                  Status of Plaintiff: CONVICTED                      PRETRIAL DETAINEE ()

                  2.       Name of the second plaintiff: L—VI.5
                           Prison I.D. No. of the second plaintiff:
                           Address of the second plaintiff: J "7(



                  Status of Plaintiff: CONVICTED ('         )         PRETRIAL DETAINEE ()

Revised 11/2014

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                                                                                                     M



 (Include the name of the institution and mailing address with zip code for each plaintiff. If
 any plaintiff changes his or her address, he or she must notify the Court immediately. If there
 are more than two plaintiffs, list their names, prison identification numbers, and addresses on
 a separate sheet of paper.)

         B.    Defendants) against whom this lawsuit is being brought: See        addi 'll otJ
              sh eef s I a,bd-ed , 7 ( ,f~ndan-'c9 ,
              1. Name of the first defendant: J/~%IJdied ~~1 ~?~`` '         l~;✓''} f' ~l~
                   Place of employment of the first defendant:     '~,p~

                   First defendant's address: 14d M&,,-,n W(AV        HFOU-150 d, i*TPd 3 7C) 71-1


                   Named in official capacit y?     /Yes              ` No
                   Named in individual capacity?    ZYes              _No


              2.   Name of the second defendant: r©I ],       C.
                                                             !V! C
                   Place of employment of the second defendant: CbQ2QrCL.4=7RQr1

                   Second defendant's address: f   orec,'y1`6--7rmL;s—da,(e- --744 er Corrn~


                   Named in official capacity?      V Yes             ;     No
                   Named in individual capacity?      Yes                   No

(If there are more than two defendants against whom you are bringing this lawsuit, you must
list on a separate sheet of paper the name of each additional defendant, his or her place of
employment, address, and the capacity in which you are suing that defendant. If you do not
provide the names of such additional defendants, they will not be included in your lawsuit. If
you do not provide each defendant's proper name, place of employment, and address, the
Clerk will be unable to serve that defendant should process issue.)

II.     JURISDICTION

        A.    Jurisdiction is asserted pursuant to 42 U.S.C. § 1983 (applies to state prisoners).
              Jurisdiction is also invoked pursuant to 28 U.S.C. § 1343(a)(3).


              If you wish to assert jurisdiction under different or additional statutes, you may list
              them below:




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III.   PREVIOUS LAWSUITS (The following information must be provided by each plaintiff.)

       A.    Have you or any of the other plaintiffs in this lawsuit filed any other lawsuit(s) in the
             United States District Court for the Middle District of Tennessee, or in any other
             federal or state court?         _Yes                 No

       B.    If you checked the box marked "Yes" above, provide the following information:


             1.   Parties to the previous lawsuit:


                  Plaintiffs


                  Defendants



             2.   In what court did you file the previous lawsuit?

                  (If you filed the lawsuit in federal court, provide the name of the District. If you
                  filed the lawsuit in state court, provide the name of the state and the county.)

             3.   What was the case number of the previous lawsuit?          0      6 ~

            4.    What was the Judge's name to whom the case was assigned?



            5.    What type of case was it (for example, habeas corpus or civil rights action)?



            6.    When did you file the previous       uit? (Provide the year, if you do not know
                  the exact date.)          IV

            7.    What was the result of the previous lawsuit?         For example, was the case
                  dismissed or appealed, or is it still pending?    L) / h

            8.    When was the previous lawsuit decided by the court? (Provide the year, if you
                  do not know the exact dat e.)     l\ 11 A
            9.    Did the circumstances of the prior lawsuit involve the same facts or
                  circumstances that you are alleging in this lawsuit? r Yes _ \1_,_No

            (if you have filed more than one prior lawsuit, list the additional lawsuit(s) on a
            separate sheet of paper, and provide the same information for the additional
            lawsuit(s).)




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IV.        EXHAUSTION

           A.    Are the facts of your lawsuit related to your present confinement?


                 V / Yes           _No

       B.        If you checked the box marked "No" in question 111.13 above, provide the name and
                 address of the prison orjail to which the facts of this lawsuit pertain. ;




       C.        Do the facts of your lawsuit relate to your confinement in a Tennessee state prison?


                  —yes
                 —Z                _No

                 (If you checked the box marked "'No,"proceed to question W.G. If you checked the
                 box marked "Yes," proceed to question IV.D.)

       D.       Have you presented these facts to the prison authorities through the state
                grievance procedure?     /Yes               No

       E.       If you checked the box marked "Yes" in question III.D above:

                                                                              f
                1.   What steps did you t ake?     1d , i~~i~d~?i`i~G('     f11~C11~~     0

                                                   i

                2.   What was the response of prison authorities?


                                                                                          4r>xol.   J~
      F.        If you checked the box marked "No" in question IV.D above, explain why not.




      G.        Do the facts of your lawsuit pertain to your confinement in a detention facility
                operated by city or county law enforcement age/~cies (for example, city or county
                jail, workhouse, etc.)?          _Yes              V/ No


      H.        If "Yes" to the question above, have you presented these facts to the authorities
                who operate the detention facility?      es      ('No


      I.        If you checked the box marked "Yes" in question HIM above:

                1.   What steps did you take? _        Nt \    N




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                2.    What was the response of the authorities who run the detention facility?
                                                  4. h   11   r..




        J.      If you checked the box marked "No" in question IV.H above, explain why not.




V.      CAUSE OF ACTION


Briefly explain which of your constitutional rights were violated:

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VI.     STATEMENT OF FACTS                                              LeA0A cL a.i ins
State the relevant facts of your case as briefly as possible. Include the dates when the incidents
or events occurred, where they occurred, and how each defendant was involved. Be sure to
include the names of other persons involved and the dates and places of their involvement.

If you set forth more than one claim, number each claim separately and set forth each claim in a
separate paragraph. Attach additional sheets, if necessary. Use 8 % inch x 11inch paper. Write
on one side only, and leave a 1-inch margin on all 4 sides.

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 VII.      RELIEF REQUESTED: State exactly what you want the Court to order each defendant to
 r1n fnr wm i




          I request a jury trial.     VYes              No


VIII.     CERTIFICATION

I (we) certify under the penalty of perjury that the foregoing complaint is true to the best of my
(our) information, knowled e and belief.

          Signature:               ( ,~IttJU                   Date:
          Prison Id. N
          Address (include the city, state and zip code.):



          Signature:         -t om --_—~~            —         Date:
          Prison Id.-Wo--.
          Address (Include the city, state and zip code.):



ALL PLAINTIFFS MUST SIGN AND DATE THE COMPLAINT, and provide the information
requested above. If there are more than two plaintiffs, attach a separate sheet of paper with
their signatures, dates, prison identification numbers, and addresses.

ALL PLAINTIFFS MUST COMPLETE SIGN AND DATE SEPARATE APPLICATIONS TO PROCEED IN
DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS, if not paying the civil filing fee.


SUBMIT THE COMPLAINT AND (1) THE REQUIRED FILING FEE OR (2) COMPLETED APPLICATION
TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES AND COSTS TOGETHER.
Complaints received without the required filing fee or application to proceed without
prepayment of fees will be returned. Filing fees and applications to proceed without
prepayment of fees submitted without a complaint will be returned.




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